Case 1:05-cr-10067-.]DT Document 7 Filed 08/22/05 Page 1 of 2 Page|D 7

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wEsTERN DISTRICT oF TENNESSEE 2 pg 4_
Eastern Division ; `_ l ° 59

  

UNITED STATES OF AMERICA
-vs- Case No. l:05cr10067-001T

DONALD ALLEN HOLT

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUST 23, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, 111
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

Date: August 19, 2005 §§ ,_._--
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

‘lfnot held immediately upon defendants first appearance, the hearing may be continued t`or op to three days upon
motion oi" the government, or up to five days upon motion ofthe defendant 18 U.S.C. § 3142(5(2)_

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t) are present. Subsection (l ) sets l`orth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon the_iudicia] officer's own motion, ifthere is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 4?0 (BISB) Order of Temporary Detentien

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 7 in
case 1:05-CR-10067 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

